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                               UNITED STATES DISTRICT COURT                             FILED
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION                                    JAN 2 12020
                                                                                 CLERK.   U.S..   DISTRICT COURT
JARROD STRINGER, et. al.                                                         WESTERN DISTRICT
                                                                                WY__________S
                                                                                                   DEPU
V.                                                        CIVIL NO. SA-16-CV-257-OG

ROLANDO PABLOS, in his official
capacity as Texas Secretary of State
and STEVEN C. McCRAW, in his official
capacity as Director of the Texas Department
of Public Safety


JARROD STRINGER, et. al.



RUTH HUGHS, in her official capacity                      CIVIL NO. SA-20-CV-46-OG
as Texas Secretary of State and STEVEN C.
McCRAW, in his official capacity as
Director of the Texas Department of
Public Safety

                                      ORDER OF DISMISSAL

        Pursuant to the Fifth Circuit's judgment and mandate entered on November 13,2019, the 2016

claims of Jatrod Stringer, Benjamin Hemandez, and John Woods ("Plaintiffs-Appellees") are

DISMISSED for lack of standing to pursue the prospective injunctive relief they sought in Civil Action

No. SA-16-CV-257-OG. PlaintiffsAppellees shall pay the costs on appeal taxed by the Clerk of the

Court for the Fifth Circuit to the extetit they have not already done so. Docket no. 122.

        Although the judgment entered on May 18, 2018 has been reversed, vacated, and remanded for

further proceedings, and Mr. Stringer's 2016 claims are hereby dismissed, Mr. Stringer has filed new

2020 claims that have been consolidated herewith in the interest of judicial economy. Continuing to file

all documents under the same    docket number will ease the administrative burden on the Court and the

parties will benefit from the ability to reference the same record in resolving the claims and issues raised

in the 2020 complaint. The Court will begin anew with Jarrod Stringer's 2020 claims, as well as the new
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claims of Nayeli Gomez, John Harms, Move Texas Civic Fund, and League of Women Voters ofTexas

("Plaintiffs") and Texas Democratic Party, DSCC, and DCCC ("Intersrenor-Plaintiffs").

       SIGNED and ENTERED this                ay   of Janualy, 2020.



                                            ORLANDO L. GARCIA
                                            CHIEF U.S. DISTRICT JUDGE
